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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                     )
                                           )
W.R. Grace & Co., et al.                   )       Case No. 01-01139 (JKF)
                                           )       Chapter 11
                                           )
                          Debtors.         )       (Jointly Administered)
                                           )

                    SUMMARY OF MONTHLY FEE AND EXPENSE INVOICE

Name of Applicant:                              Hamilton, Rabinovitz & Alschuler, Inc.
Authorized to Provide                           The Official Committee of Asbestos Property
Professional Services to:                       Damage Claimants
Date of Retention:                              Retention order entered on February 20, 2002,
                                                Nunc Pro Tunc, to May 2, 2001
Period for which compensation and               July 1, 2002 through July 31, 2002
Reimbursement is sought:
Amount of Compensation sought as actual,        $4,050.00
reasonably and necessary for matters other than
those related to the Sealed Air fraudulent
transfer lawsuit:
Amount of Expense Reimbursement sought as N/A
actual, reasonably and necessary for matters
other than those related to the Sealed Air
fraudulent transfer lawsuit:

This is a:____X_______monthly______________Interim_______________final Application

During the month of February, the Court entered an order approving the retention Application,
which such Order made the Applicant subject to the requirements under the Administrative
Orders governing requests for compensation and reimbursement of expenses. Accordingly, the
Applicant submits this statement.




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